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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
IN THE MATTER OF THE APPLICATION           :
OF THE ASSOCIATED PRESS; CABLE             :
NEWS NETWORK, INC.; THE NEW YORK :           Misc. Action No. 19-0029 (CRC)
TIMES CO.; POLITICO LLC; AND WP            :
CO., LLC, d/b/a THE WASHINGTON POST :
FOR ACCESS TO CERTAIN SEALED               :
COURT RECORDS                             :
__________________________________________:


                                      NOTICE OF FILING

        The United States of America hereby provides notice that, consistent with the Court’s order

of January 8, 2020 (ECF No. 21), the United States has filed with the Court, ex parte and under

seal, proposed redactions to the relevant materials in this matter.

        The reasons for the redactions that the government has proposed in those materials—and

the bases for the government’s request to continue to seal limited portions of those documents—

are: (1) grand jury material protected by Rule 6(e), and (2) privacy interests of individuals and

entities.

                                                      Respectfully submitted,

                                                      TIMOTHY J. SHEA
                                                      United States Attorney
                                                      for the District of Columbia


                                              By:            /s/ Molly Gaston
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